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                                    #10




  Grievance filed by the plaintiff.
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                                                               #11
                            TRI-COUNTY DETENTION CEN·TER

           DETAINEE I OFFENDER                                                                   FOR OFFICE USE ONLY

       GRIEVANCE FORM I RECLUSA QUEJA
                                                                                                                       ...
                                                                                    DATE RECEivED:'.,-·.,-··_·...,--·.,.,..·._._.--:-----'- ·'   ..

 NAME I NOMBRE: .....~·F)-_;,,::, J :. ''r ,_,./         f'j\ ;; ..'   {
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 NUMBER I NUMERO: _f\__C....;;)5~--~;_·J-~~-\
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DATE I FECHA:               Y ---la- ;J__u(~
HOUSING I ASIGNACION DE LA CELULA: hi ". l i V ( '~et

UNIT WHERE INCIDENT OCCURRED I UNIDAD DONDE

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OCCURRION EL INCIDENTE: '":\t.Ht: \<._<:,ol\f cvv.fli-;-'{ ~0\L
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USTED DEBE ATEMPT RESOLVER SU PROBLEMA CON Un MIEMBRO Del PERSONAL ANTES DE QUE USTED SOMETA Una DEMANDA
OFICIAL, LA UNICA EXCEPCION ES ALABROGAR Los RESULTADOS De una AUDIENCIA DISCIPLINARIA

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WHAT WAS THEIR RESPONSE I CUAL ERA SU RESPUESTA: - - - - - - - - - - - - - - - - - - - -

WHAT ACTION WAS TAKEN I QUE ACCION FUE TOMADA: - - - - - - - - - - - - - - - - - - - - -




STATE YOUR GRIEVANCE IN THE SPACE PROVIDED. PLEASE STATE WHO, WHAT, WHERE, WHEN AND DISCIPLINARY CASE NUMBER IF
APPROPRIATE. I INDICAR SU AGRAVIO EN EL ESPACIO PROPORCIONADO INDICAR FOR FAVOR A quein, que paso, cuando, donde, y
NUMERO del CASODISCIPLINARIO SI es APROPIADO.
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                                                                 #12
                      TRI-COUNTY DETENTION· ·CENTER




ACTION REQUESTED TO RESOLVE YOUR COMPLAINT I ACCION SOLICITADA PARA RESOLVER SU QUEJA:




                                                                                                DATE: }f-2{- /2,


GRIEVANCE RESPONSE I RESPUESTA DEL AGRAVIO:




SIGNATUREAUTHORITY:~ ~                                                                         DATE:    --=,~t---~22__,,!~1-~--
     RETURNED BECAUSE I VUELTO PORQUE                                                 OFFICE USE ONLY
  I. Grievable Time Period Has Expired I El Periodo Espirado
 .2. No Documented Attempt at Informal Resolution I Niguna          Initial Submission              UCH Initials
    Tentativa En La Resolucion Informal                             Grievance#
 3. Originals Not Submitted I Originales No Sometidas               Screening Criteria Used:
 4. No Relief is Requested I NoSe Solicita Ninguna Relevacion
                                                                    Date Read from Detainee/Offender:
 5. Use of Vulgar, Indecent or Physically Threatening Language I
                                                                    Date Returned to Detainee/Offender:··
    Uso De Vulgaridad 0 Amenazas
 6. The Issue Presented is Not Grievable I La Edicion Presentada
                                                                    zod Submission                UCH Initials
    No Es Grievable
 7. lllegible or Incomprehensible I Dlegibale 0 lncomprensible      Grievance#
 8. Inappropriate f Inadecuado                                      Screening Criteria Used:
                                                                    Date Read from Detainee/Offender:
  May Resubmit This Form When Corrections Are Made                  Date Returned to Detainee/Offender:
 Resometer Esta Forma Cuando Se Hacen Las Correcciones
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                        TRI-COUNTY DETENTION.CEN·TER

                                                                                       FOR OFFICE USE ONLY
         DETAINEE/ OFFENDER
                                                                          GRlliVANCE# _________________
     GRIEVANCE FORM/ RECLUSA QUEJA
                                                                                                ·, ·,   ..
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NAME INOMBRE:'i3ogv.s;/ o. w.                        I~ CAt Iv...k
NUMBER I NUMERO: _0,;;..;5~?~9...x~...;:::~....LY..l..lll~.....-_ _ __

DATE I FECHA:            0'6-31_'~.,01~

HOUSING I ASIGNACION DE LA CELULA:                       IN f ..
UNIT WHERE INCIDENT OCCURRED I UNIDAD DONDE
OCCURRION EL INCIDENTE: ---L..:,AJ,.._.VA:...!..-_ _ __




YOU MUST ATTEMPT TO RESOLVE YOUR PROBLEM WITH A STAFF MEMBER BEFORE YOU SUBMIT A FORMAL COMPLAINT. THE ONI
EXCEPTION IS WHEN APPEALING THE RESULT OF A DISCIPLINARY HEARING.

USTED DEBE ATEMPT RESOLVER SU PROBLEMA CON Un MIEMBRO Del PERSONAL ANTES DE QUE USTED SOMETA Una DEMANI
OFICIAL, LA UNICA EXCEPCION ES ALABROGAR Los RESULTADOS De una AUDIENCIA DISCIPLINARIA

WHO DID YOU TALK TO? I CON QUIEN HABLO USTED? NAME/NOMBRE: ------'/V.~,~!J-LA..l..-____________

WHEN/CUANDO: _ _ _ _ _..;_N;;.,-/'-'~'-ll---------

WHAT WAS THEIR RESPONSE I CUAL ERA SU RESPUESTA: -------'~..:.r/.wA'-------------

WHAT ACTION WAS TAKEN/ QUEACCION FUE TOMADA: _ _ _ _ _ _ __.!1J~'/-Lfl-'------------




STATE YOUR GRIEVANCE IN THE SPACE PROVIDED~ PLEASE STATE WHO, WHAT, WHERE, WHEN AND'DISCIPLINARY CASE NUMBER
APPROPRIATE. I INDICAR SU AGRAVIO EN EL ESPACIO PROPORCIONADO INDICAR FOR FAVOR A quein, que paso, cuando, donde
NUMERO del CASODISCIPLINARIO SI es APROPIADO.
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                                                                 #16
                       TRI-COUNTY DETENTION· CENTER


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ACTION REQUESTED TO RESOLVE YOUR COMPLAINT I ACCION SOLICITADA PARA RESOLVER SU QUEJA:

      :CM




GRIEVANCE RESPONSE I RESPUESTA DEL AGRAVIO:




SIGNATURE A U T H O R I T Y : - - - - - - - - - - - - - - - - D A T E : - - - - - - -


     RETURNEDBECAUSE/VUELTOPORQUE                                   '                 OFFICE USE ONLY
  1. Grievable Time Period Has Expired I EJ Periodo Espirado
 .2. No Documented Attempt at Informal Resolution I Niguna          Initial Submission              UCH Initials
    Tentativa En La Resolucion Informal                             Grievance#
 3. Originals Not Submitted I Originales No Sometidas               Screening Criteria Used:
 4. No Relief is Requested /NoSe Solicita Ninguna Relevacion        Date Read from Detainee/Offender:
 5. Use of Vulgar, Indecent or Physically Threatening Language I
                                                                    Date Returned to Detainee/Offender:·.
    Uso De Vulgaridad 0 Amenazas
 6. The Issue Presented is Not Grievable I La Edicion Presentada
    NoEs Grievable                                                  znd Submission                UCH Initials
 7. Illegible or Incomprehensible I Dlegibale 0 Incomprensible      Grievance#
 8.Inappropriate I Inadecuado                                       Screening Criteria Used:
                                                                    Date Read from Detainee/Offender:
  May Resubmit This Form When Corrections Are Made                  Date Returned to Detainee/Offender:
 Resometer Esta Forma Cuando Se Hacen Las Corr'ecciones
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                      TRI-COUNTY DETENTION.CEN·TER

                                                                                          FOR OFFJCE USE ONLY
         DETAINEE/ OFFENDER
                                                                             GRffiVANCE# _________________
     GRIEVANCE FORM/ RECLUSA QUEJA
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                         Boguslaw Matlak
NAME I NOMBRE: - - - - - - - - - - -

NUMBER I NUMERO: A# 057 -922 -411

DATE / FECHA: J/ Septembe~t, 2012

HOUSING I ASIGNACION DE LA CELULA:                   Infirmary 2

UNIT WHERE INCIDENT OCCURRED I UNIDAD DONDE
OCCURRION EL INCIDENTE:         n/a



YOU MUST ATTEMPT TO RESOLVE YOUR PROBLEM WITH A STAFF MEMBER BEFORE YOU SUBMIT A FORMAL COMPLAINT. THE ONl
EXCEPTION IS WHEN APPEALING THE RESULT OF A DISCIPLINARY HEARING.

USTED DEBE ATEMPT RESOLVER SU PROBLEMA CON Un MIEMBRO Del PERSONAL ANTES DE QUE USTED SOMETA Una DEMANl
OFICIAL, LA UNICA EXCEPCION ES ALABROGAR Los RESULTADOS De una AUDIENCIA DISCIPLINARIA


WHO DID YOU TALK TO?_/ CON QUIEN HABLO USTED? NAMEINOMBRE: - - - - - - - - - - - - - - - - - - - - - - - - -

WHENICUANDO:· _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


WHAT WAS THEIR RESPONSE I CUAL ERA SU RESPUESTA: - - - - - - - - - - - - - - - - - - - - - - - - - - - . . . . : . . . . . -

WHAT ACTION WAS TAKEN I QUE ACCION FUE TOMADA: - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - . . : . . _ -




STATE YOURGRIEVANCEINTHESPACEPROV!DED: PLEASE STATE WHO, WHAT, WHERE, WHEN AND"DISCIPLINARY CASE NUMBER
APPROPRIATE. I INDICAR SU AGRAVIO EN EL ESPACIO PROPORCIONADO INDICAR FOR FAVOR A queln, que paso, cuando, donde
NUMERO del CASODISCIPLINARJO SI es APROPIADO.




          -I enclose m'/ complaint along with request ot.t extra sheet of paper~·.
                  Case 3:12-cv-01027-JPG                                  Document 1-1 Filed 09/24/12      Page 9 of 40       Page ID
                                                                                     #18

                                TRI-COUNTY DETENTION· CENTER



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ACTION REQUESTED TO RESOLVE YOUR COMPLAINT I ACCION SOLICITADA PARA RESOLVER SU QUEJA:




                                                                    1 enclose my request on extra sheet of paper.




GRIEVANCE RESPONSE/RESPUESTADELAGRAVIO:




SIGNATURE AUTHORITY: _ _ _......;__ _ _ _ _ _ _ _ _ _ _ _ D A T E : - - - - - - -


      RETURNEDBECAUSE/VUELTOPORQUE                                                                      OFFICE USE ONLY
 1. Grievable Time Period Has Expired I El Periodo Espirado
 .2. No Documented Attempt at Informal Resolution /Niguna                              Initial Submission------ UCH Initials------
     Tentativa En La Resolucion Informal                                               Grievance#-------
  3. Originals Not Submitted I OriginalesNo Sometidas
  4. No Relief is Requested I No Se Solicita Ninguna Relevacion                        Screening Criteria Used:-:-::-~--:--------
  s. Use of Vulgar, Indecent or Physically Threatening Language 1                      Date Read from Detainee/Offender: - - - - - - - - - -
     Uso De Vulgaridad 0 Amenazas                                                      Date Returned to Detainee/Offender:·_.- - - - - - - - -
  6. The Issue Presented is Not Grievable I La Edicion Presentada
     NoEs Grievable                                                                     zudSubmission _ _ _ _ _ _ UCH Initials------
  7. Illegible or Incomprehensible I lllegibale 0 lncomprensible                       Grievance#-:--:--::-::---:----
  8. Inappropriate I lnadecuado                                                        Screening Criteria U s e d : - - - - - - - - - - -
                                                                                       Date Read from Detainee/Offender: - - - - - - - - - -
   May Resubmit This Form When Corrections Are Made                                    Date Returned to Detainee/Offender:----------
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                                                   #19



  Grievance. Tri County Detention Center                                                 08-20-2012



  Correctional Officer Fleming put chain on me around my waist for no reason, because he couldn't
  handcuff me. While I was in the van I learn that the handcuff on the chain was unlocked. I want to
  know what was the purpose of the chain being on my waist? And why officer used the chain to picking
  me up and throwing me in to the van while I have doctor orders for special transportation handicap
  van. I m disable with a lot medical problems prior my accidents in the pass. Correctional Officer acting
  under color of state law were deliberate indifferent when he negligence his duties to obtain medical
  care to a detainee who needs medical special needs. Violating the gth amendment rights in the Illinois
  Constitutional of 1970

  Request:

  I' am requesting interior investigation oriDfficer Fleming for his action.




                                                                 Boguslaw Matlak. A No: 057922411




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  Grievance. Tri County Detention Center                                                  08-20-2012



  On 8-18-2012 I have been harmed by Tri County Officer Fleming, fallowing the incident after a great
  deal of pleading, I was carried to the medical dispensary for general examination. The pain level was
  around (5) and after brief examination, the on duty nurse state that I'm on the doctor appointment list.
  I was placed in the Medical Health Care Unit observation cell.

  After the next day on 8-19-12 approx. !1:00Am I woke up with even more pain in my upper back, and
  with some tingling on my shoulders blades shooting down to my kidneys area. I notify the nurse
  immediately asking for back examination, the on duty nurse did not observed any drastic changes, it
  was unremarkable examination. Fallowing the next day 8-20-12 the pain along with the tingling have .
  been continuously hurting and bothering me. At !5:25Pm I spoke with the nurse asking what can be
  the reason of having this type tingling in my upper/lower back. She indicate that may by pinch nerve in
  thoracic vertebra and the nurse couldn't tell me or this is temporary problem or not.

  The actions taken or lack there of, by Officer Fleming was nothing short of completely disregard of my
  rights. Now I suffering from physical damage to my spine, something that could have easily been
  avoided, had the proper and necessary steps been taken.




  Request:

  Disciplinary action toward Correctional Officer Fleming for his action and also spine evaluation
  in the clinic.




  Boguslaw Matlak. A No: 057922411
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 Grievance. Tri County Detention Center                                                   08-20-2012



 On 8-18-12 I have been told by Correctional Officer at Jefferson County Jail to get ready for transfer. On
 11:40Am I was called by Tri County Officer Fleming to fallow him with approximately 11 inmates,
 everyone enter the van and took sit. There was only 2 empty seats at front where was impos~ible for
 me in my medical condition to sit normal and safe, because the distance (free space) between the seat
 and front plastic wall was about 15 inches. I refused to enter the van and I sit down on the ground next
 to the van, I pulled my doctor orders that clearly say about my medical condition and special needs.
 The Correctional Officer said to me (I don't care and don't piss me of smart ass) C/0 did not offered
 help or assistance for me. I refused go in to the van, Officer Fleming approach to me and with heavy
 anger picking me up and dragging me to the van using the chain around my waist throwing me in to the
 van at the front seat. He try to close the side door but he couldn't because my leg is not bending so he
 was pushing me against another inmate that was also sitting at the front seat ... The 90 minutes drive in
 improper position was very uncomfortable and painful.

 I' an: very very upset of this situation that took place at Jefferson County Jail. This was a complete
 disregard of my 8th amendment rights, and these violations have caused me excessive unnecessary pain
 and suffering.




Request:

I am requesting an investigation regarding this incident, I want to know why Correctional Officer Fleming
assault me while I'm disable? I also requesting MRI to my spine and proper treatment.

                                                                 Boguslaw Matlak. A No: 057922411




                  OFFICIAL SEAL
                  ALICE SHEIBLE
         NOTARY PUBLIC· STATE OF ILLINOIS
          MY COMMISSION EXPIRES:02127113
                                                                                 ---~--------------



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                                                 #22


                                                                                                    08-21-2012




          Correctional Officer Fleming failed to fallow the protocol during his duties on day 18, of August
 2012,

         U.S.   Immigration    and    Customs     Enforcement,     National   Detainee   Handbook    Detention
 Management Division clearly state's on page 8, topic (12) : Use Of Force:




         Officers may use physical force only after all reasonable efforts to resolve a detainee situation
 have failed. Officers shall use a little force as necessary to:

     •   Gain control of the detainee;
     •   Protect and ensure the safety of detainees, staff and others;
     •   Prevent serious property damage; and
     •   Ensure the security and orderly operation of the facility.

 Physical restrain shall be used only under specified condition to gain control of a detainee who is
 endangering himself, herself, or others.




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  Grievance.                                                                               08-22-2012




  Correctional Officer   T( ~L{ did not help me at this situation that took place at Jefferson County Jail
  on 8-~8-2012. The Officer was watching the whole incident without intervention. Correctional Officer_
  TC~H helped to Officer Fleming closing the side door and, also pushing my leg.

  I have been treated like series dangerous criminal, this is unfair to me.

  I refused go on the van for reason. I' m not like every other inmate in here, I' m disable and I should be
  treated differently way than others. During the incident I try to request for a Sergeant or Immigration
  agent but they coordinators didn't lessen tome or even spoke to me. Without offering me help or
  anything I was throw in to the van like a garbage bag!!!! Me and my family working on it to get copy of
  the video to show what happened.

  This is so painful physically and emotional to me, now I' m suffering. They shouldn't be drivers because
  Officer Fleming seems to have anger management problem, because the way he was acting wasn't
  normal.

 Just because I'm an inmate I' m not going let people put hands on me and me being quiet about it. They
  need to take responsibility for their own actions. I'm so mad to this situation and everybody knows that
  this was wrong procedures. Now I have to suffer ...




                                                                     Boguslaw Matlak

                                                                     A No: 057922411
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                                               #24

                                                              September 11, 2012




          On September 11, 2012 I was told by Lt. Sparlock to get ready for transport to outside
  hospital for my spine treatment. I asked Lt. Sparlock what vehicle he willing to use for transport, he
  "answered the same van you come here", after he said that I refused to go on the van and the
  Lieutenant close my cell door and called the nurse for refusal sheet, but I refused to signet. After
  few minutes the ICE agent approach to my cell door and he start talking to me even when I told
  him 3 times to leave me alone, he try to convinced me to go, also he said that I will be the only
  person in the van, after the conversation I decide to go.

          Approximately 10:00 am I was taken to sally port, when we approach the van officer try to
  handcuff me and because of that I try to refuse once again, but at the same time I really need to go
  and receive the treatment I need, also he c/o told me it is procedures being transported secured
  and he have to cuff me, I agree to be handcuff and shackle
   I entered the van with officer help and I took sit in the middle row where was pretty much space
  for me to sit. Handcuff and shackle was placed on me for security reasons.

          I should be treated like that by correctional officers Flaming and Brown when I was
  transported on 8-18-12, also in my respond to my grievance from Lt. Sparlock he state:
  "Correctional Transport Staff operated with their scope of training in accordance with the
  Performance Based National Detention Standards," The officers did everything wrong from the
  beginning, because officer Fleming did not warned me verbally before he used physical force ,also
  he never talk about any solutions for my placement in the van and he never try to help me. While I
  was in the van I learn that the handcuff on the chain was unlocked and shackles were never placed
  on my feet, however correctional officer Fleming and Brown never took responsibilities for leaving
  me in the van unsecured. The transportation rules are that any inmate inside the van has to be
  secured! Why officers did not get any disciplinary actions for that? I have a witness for that also is
  on the security camera video, this is unfair to me because I have to suffer now and the officers still
  doing the job wrong and putting them self and others people in dangerous situations. I will go
  forward with this because I am very upset what he did to me, it was painful, shameful, I felt so low
  like never before, for you its may be no big deal but everybody is different, for me was big deal and
  because all of that I have to also go for mental health doctor because I felt helpless. He was 100%
  wrong and he never apologize me for what he done.


            Request:

         My request is I want officers Fleming and Brown to take full responsibility for
  they actions for violating Tri County Detention Center procedures of transportation
  rules and putting them self and other in danger.


       OFFICIAL SEAL
       ALICE SHEIBLE                                                                  B~uslaw£t~~~
NOTARY PUBLIC. STATE OF ILLINOIS                                                      d~c      t   ~
 MY COMMISSION EXPIRES:02/27113
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                                     #25




  Administration Respond.
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                                               #26


August 30, 2012

Lieutenant Scott Spurlock

Tri-County Justice and Detention Center

Ullin il 62992




Attention: Detainee Matlak, Boguslaw AXXXXXXXX

        This is in response to your grievance. A review of all medical documentation provided by you, as
well as all medical documentation provided in your detention file concerning previous injuries you have
sustained and make reference to, wheelchair use for extended transportation instead of walking. The
review found none of these documents state that a medical transport vehicle will be provided in order
for you to be transported from one destination to another. Furthermore, the NRC SPECIAL NEEDS
PERMIT provided by you, is dated for March 9, 2012 and is signed by the provider as a 30 day permit
QD.!y, and is now expired.

        By your own admission you state after you refused to enter the facility transport van, you placed
yourself on the ground next to the van, in any attempt not to cooperate with the facility staff and
refused all instruction of the transport staff.

        Based on all reports staff offered you assistance on to the transport vehicle, to which you again
refused, and then placed yourself onto the floor of the Jefferson County sally port refusing all staff
assistance. Additional transport staff also verified in their reports staff requested numerous times for
your cooperation to enter the transport vehicle before any assistance was provided by staff.
Correctional Officers are permitted to use force after all reasonable efforts to gain a detainees willing
cooperation have failed. The Transport Staff only used the amount of force necessary to gain control
and your placement in a secure location in this instance being the transport vehicle.

Findings: After a review of this case it has been determined that the Correctional Transport Staff
operated within their scope of training in accordance with the Performance Based National Detention
Standards.

                                                                   Lieutenant Scott Spurlock
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                                              #27




 Boguslaw Matlak
 057922411
 Tri-County Detention Center
 September 5th, 2012

 Re: Grievance Appeal

 Mr. Boguslaw,

        After thorough review of your grievance including all reports, statements, along with the
 supporting documentation you provided, titled "Notice of Response".

 You made a conscious decision to place yourself on the floor of the Jefferson County sally port after
 ambulating to the transportation vehicle with the aid of a walker. On numerous occasions your
 cooperation was requested, for which you refused to comply with instruction provided by the
 correctional staff resulting in a significant security issue. It is your failure to cooperate that resulted
 in the correctional staff having to physically place you in the transportation vehicle. Additionally
 your continuous attempt to keep the Correctional Staff from securing the vehicle by placing your
 foot between the doors preventing it closure further details your uncooperative demeanor.

 As stated in your "Notice of Response" "Wheelchair for Transportation" is described to be utilized
 for periods in which you would be would be required to stand for an undetermined length of time
 or ambulate an undetermined distance.

 Findin~s: As described above I conclude you failed to cooperate with correctional staff.
           Furthermore the Tri-County Detention Center correctional staff utilized only the amount
           of force necessary for your placement in the transportation vehicle, as well as the
           security of that vehicle.




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  Appeal filed by the plaintiff.
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                                      #29


  Warden Damon Acuff                                            September 8, 2012




         On my understanding of your respond to my grievance, you agree with fact
 that it's ok I was harmed and injured. None of Yours or Lt. Sparlock responds to
 my complaints states about me being injured or harmed by Correctional Officer
 Fleming. On your findings you states that Officers utilized only the amount of
 force necessary for my placement in the transportation van: The amount of force,
 Officer Fleming used was enough to hurt me, also in your respond to me you
 didn't munched nothing about my medical condition I'm in. The gth amendment
 rights was made to protect inmates from harm and unusual punishment, I know
 my constitutional rights and my rights have been violated.
 In Jefferson County I have reason to refused, because I was concern about my
 health and I knew that the position that Officers try to placed me will be painful, I
 did placed myself on the ground, but I was 100% positive that Officers will not
 touch me at all. After I placed myself on the ground Officer Fleming approach me
 without offering me any help, or to trying find different solution to this situation
 and he did not warned me that he is going to use physical force to placed me in
 the van.
 Why Officer Fleming did not offered my any help?
 Why Officer Fleming did not warned me that he is going use physical force on me?
 And why he did not talk to me at all about different solution? Everything took
 about 20 seconds and there is no way in the world that he talks to me or try
 resolve the problem.
   This was an unusual situation and Officers should be more cooperative with me
 because I' am a disable person with a lot medical problems.
         I will give you an example from different transportations Officers. While I
 was in Broadview, McHenry County Jail come to pick me up, after they saw me
 with the walker they called the supervisor to ask him for permission to take me
 on the bus also they asked to not to handcuff me.
  Why now the transportation staff tries to refuse to tell the true?
 I have been hurt in process and now who is responsibility for that? It is my fault?
 And now I have to suffer? Because I refused go on this van?? I m reading book
 with prisoners rights and even if the Officer have reason to used physical force on
 inmate Officer also is responsibility for injury if any.
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  I am not satisfied with your respond to my grievance, and also I can't write to
  good English but I try my best and I' am not going to sit quiet and scared for
  telling the true.
  I know my rights and I' am protect under gth amendment rights, maybe officer
  Fleming don't know about these rights, but he violated my constitutional rights.
  My request is I want to know why Officer Fleming hurt me in process?
  I want to know why Officer Brown did not help me in this unusual situation and
  why she helps Officer Fleming to place me on the van.?
  I want to know who going to take responsibility for my injury?
  And I want to know who Officers called to report my disciplinary actions and
  explain this unusual situation?.
  I want take disciplinary actions toward Officers for what they done to me.




  Boguslaw Matlak.
  A-057-922-411
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                                              #31


  Boguslaw Matlak                                                                    August 30, 2012




          I m appealing Lieutenant Scott Spurlock response to my Grievance from August 30, 2012.



                                           Notice of Response




     1.   Wheelchair use for extended transportation instead of walking.

     Answer: My medical orders say's: Patient may use wheelchair for court and long distance.
             And my NRC special needs permit say's: Wheelchair for transportation.

     2.   No of these documents state that a medical transportation vehicle will be provided in order for
          you to be transported.

     Answer: Wheelchair for court and long distance means, if I leaving for outside court or any long
     transportations I m signed to a wheelchair because of my medical condition and needs.

     3.   Permit provide by you, is dated for march 9, 2012 and is signed by the provider as a 30 day
          permit only, and now is expired

     Answer: While I was in the state prison I had no more movements or transportations, there was no
     reason for me to update any of my medical documents.

     4.   By your own admission you state after you refused to enter the facility van, you placed yourself
          on the ground next to the van

     Answer: That is correct, I did placed myself on the ground next to the van.

     5.   In any attempt not to cooperate with the facility staff and refused all instructions of the
          transport staff.

     Answer: I did not refuse any instructions because there was no instruction from the staff, and I
     didn't refuse cooperation with the staff. I did fallow all orders till we approach the van.

     6.   Based on all reports staff offered you assistance on to the transport vehicle, to which you again
          refused, and then placed yourself onto the Jefferson County sally port refusing all staff
          assistance.

     Answer: The Officer give me an order to get inside the van, I try explain myself regarding my
     condition, but Officer Fleming said to me (don't piss me of you smart ass) after he told me that I sit
     down on the ground next to the van, requesting for sergeant or I.C.E Agent.
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   7.   Additional transport staff also verified in their reports staff requested numerous times for your
        cooperation to enter the transportation vehicle before any assistance was provided by staff.

   Answer: I was transported total 5 times including this one to. I was verbally refusing the
   transportation, but officers from different counties were talking to me offering help, and they were
   very cooperating with me. Jefferson, and McHenry Counties have different type of vans, they also
   not comfortable but, I was sitting by myself with more room.

   8.   Correctional Officers are permitted to use force after all reasonable efforts to gain a detainees
        willing cooperation have failed.

   Answer: The Correctional Officers try not to resolve the problem or to help me. They were not
   cooperating with me at all, there was no much talking and everything is captured on the security
   camera. The whole incident took maybe 20 seconds, how passably can you resolve problem in 20
   seconds?.

   9.    The Transport Staff only used the amount of force necessary to gain control and your
        placement in a secure location in this instance being the transport vehicle.

   Answer: The Correctional Officer can use physical force on inmate after trying resolving the
   problem, but in my situation there was no attempt of resolving problem. When Officer was placing
   me in the van, in process injuring my nerve in my spine (upper, lower back).

   10. Findings: after a review of this case it has been determined that the Correctional Transport Staff
       operated within their of training in accordance the Performance Based national Detention
       Standards.

   Answer: The Correctional Officers failed to fallow the protocol during they duties.




                                                                   ~slaw Matlak
               OFFICIAL SEAL
               ALICE SHEIBLE                                       0579221;:!----
        NOTARY PUBLIC· STATE OF IWNOIS
         MY CCMISSJON E>IPIA&S:OW/13
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                                           #33


  Dear Warden Acuff,                                                                09-04-2012

          On 08-18-2012 I have been harmed/assaulted by correctional officer Fleming at
  Jefferson County Jail. Brief statement of my complaint from August 2012.

          On August 18, 2012 I have been told by Correctional Officer at Jefferson County Jail to
  get ready for transfer. On 11:40am I was called by Tri County Officer Fleming to fallow him with
  approximately 11 inmates, everyone enter the van and took sits. There were only two empty
  seats at front where was impossible for me in my medical condition to sit normal and safe like
  everybody else, the distance between front seat and plastic security screen was about 15
  inches. I refused go into the van trying talk to the coordinators, but they ignore me what I have
  to say, then Correctional Officer Fleming said to me ((I don't care and don't piss me of you
  smart ass!)) after he said that to me I placed myself on the ground next to the van trying to pull
  out my doctor orders that says about my condition and special needs, also I try to request for a
  white shirt or I.C.E agent, but Officer Fleming approach to me without offering me any help,
  assistance or resolving the problem and then with heavy anger picking me up of the ground,
  dragging me toward the van, using the chain around my waist, throwing me into the front seat,
  trying close the door but he couldn't because my left leg doesn't bend, Officer Fleming called
  his partner for assistance, Officer TC-24 approach to me and start pushing my leg while Officer
  Fleming closed the side door. The 90 minutes long drive was very uncomfortable and painful.

          I' m very upset regarding this situation, no actions has been taken toward Correctional
  Officers for their actions. I' m suffering because of what they done to me, I have tingling in my
  upper back shooting down to my lower back area and is very uncomfortable and painful!.
  I' m frustrated on this situation, Officer Fleming has no rights to put his hands on me at all!!!
  Maybe I' m immigrant from Europe but I also have constitutional rights just like him, you or
  anyone in this country.
  Also I' m not satisfied with lieutenant Sparlock respond to my grievance I filed on this incident
  from August 18, 2012.
  Please for revive of my complaints and take any actions toward transporters Officers.

  Request:

  I'm requesting for full investigation on this incident and copy of the video for my own record,
  also disciplinary action toward Officer Flaming for his actions while on duties.




  Thank you,

                                                                      Respectful Regards,

                                                                      Boguslaw Matlak
                                                                      A# 057-922-411
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                                     #34




  General request filed by the plaintiff.
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                                               PALADIN EASTSIDE
                                          PSYCHOLOGICAL SERVICES, INC.
                                                                       www. PaladinEastside.com




                         GENERAL REQUEST FORM
To: ~ue&Kl.\/ Trv Dfrv·o
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     SPECIAL MANAGEMENT NOTIFICATION
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D FACILITY ISSUE                          D NEED TO NOTIFY ISSUE
NOTE: For Medical Services, you will still need to submit a sick call request to the
Health Services Unit to be treated. This is not the form used for that issue. This
form is to be used to advise ICE Management (CHICAGO) of an issue with this
facility ONLY. All other issues are to be reported on the Detainee Request Form.
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                                    PALADIN EASTSIDE
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                   GENERAL REQUEST FORM

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Medical request filed by the plaintiff.
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__ PLACED ON SICK CALL LIST                                              DATE OF APPOINTMENT: _ _ _ _ _ _ _ __

_      PLACED ON DENTAL LIST                                             DATE OF APPOINTMENT: _ _ _ _ _ _ _ __


MEDICALSTAFFSIGNATURE:                             ~ k_                                           DATE: _       ___.,_lf_,-'-)..-=-:;2_-~~/._...t--_ __
    Case 3:12-cv-01027-JPG                        Document 1-1 Filed 09/24/12                      Page 33 of 40    Page ID
                                                              #42                                                 PALADIN EASTSIDE
                                                                                                               PSYCHOLOGICAL SERVICES,
                                                                                                                         INC.
                                                                                                                     TRI-COUNTY
                                                                                                                  DETENTION CENTER

 MEDICAL REQUEST

 Solicated De Asistencia Media
 DATE:       y.--2?_-/0
FROM:,; osv>l "':_\.J M~>--+tJ(
REGISTER NO: Q~ ~ i ( i 4/l

HOUSING UNIT: MEALT+-\                         Wc.c-v~vrT:

(Please Check One)                           Medical Complaint Mt::wTI\t HfMifJ                  Dental Complaint

(Fecha De Solicitud)
                                                     D
                                               Oueja Medica
                                                                                                     I     I
                                                                                                   Oueja Dental

~I:Etiiilf {BRIEFLY STATE YOUR PROBLEM OR CONCERN. YOUR FAILURE TO BE SPECIFIC MAY RESULT IN NO ACTION BEING TAKEN. IF
NECESSARY, YOU WILL BE INTERVIEWED IN ORDER TO SUCESSFULL Y RESPONE TO YOUR REQUEST A COPY OF YOUR REQUEST WILL BE
FILED IN YOUR RECORDS) I (EXPLIQUE BREVEMENTE LA RAZON DE SU SOLJCTUD. UNA DE SU SOLJCTUD SERA ARCH IVADA EN SUS RECORDS.)




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INMATES SIGNATURE I FIRMA DEL PRESQ                  A2...          ...c- ~~
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DATE REVIEWED: _ _q~·0;:_<__;'3=--/~&:::::__ _ __                                            SEEN IN MEDICAL DEPARTMENT

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ACTIONTAKEN:~~-~~~~~~~~-~~~~-~~~~~~~d~~~~~~~


__PLACED ON SICK CALL LIST                                             DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __

__ PLACED ON DENTAL~LIST
                      •  '                                            DATE OF APPOINTMENT:


MEDICAL STAFF SIGNAT RE:
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                                                                                               DATE:. _ _ _ _ _ _ _ _ __
                      Case 3:12-cv-01027-JPG                             Document 1-1 Filed 09/24/12                     Page 34 of 40               Page ID
                                                                                     #43
                                                                                                                     /        l'ALADINEASTSIDE, INC
                                                                                                                 TT?J l-JONTY DETENTION CENTER
                                                                                                                   J 026 SJ-IA WNEE COLLEGE ROAD
                                                                                                                                     ULLIN, IL 62996
                                                       PHYSICIAN/ADVANCED .PRACTIONER
                                                                               TREATMENT J>LAN




                             SJGNITIICANT
                             HISTORY_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




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                              FOLLOW UP: NURSE VISIT
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     Case 3:12-cv-01027-JPG                     Document 1-1 Filed 09/24/12                  Page 35 of 40PALADIN
                                                                                                             PageEASTSIDE
                                                                                                                  ID
                                                            #44                                        PSYCHOLOGICAL SERVICES,
                                                                                                                 INC.
                                                                                                             TRI-COUNTY
                                                                                                          DETENTION CENTER

MEDICAL REQUEST

Solicated De Asistencia Media
DATE:O~-Qb'~ { ~                                                                       DATE RECEIVED: _ _ _ _ _ _ __



FROM~O '!3 J! ~(A\,J M~t\ ts- \;\
REGISTER NO:              U :J tj q ~~Lf t/                                            STAFF MEMBER: _ _ _ _ _ _ __

HousiNG uNIT:              l   tv F
(Please Check One)

(Fecha De Solicitud)
                                                -
                                         Medical Complaint

                                           Oueja Medica
                                                                                          Dental Complaint
                                                                                              I    I
                                                                                            Oueja Dental

~~J~]~J~it (BRIEFLY STATE YOUR PROBLEM OR CONCERN. YOUR FAILURE TO BE SPECIFIC MAY RESULT IN NO ACTION BEING TAKEN. IF
NECESSARY, YOU WILL BE INTERVIEWED IN ORDER TO SUCESSFULL Y RESPONE TO YOUR REQUEST A COPY OF YOUR REQUEST WILL BE
FILED IN YOUR RECORDS) I (EXPLIQUE BREVEMENTE LA RAZON DE SU SOLICTUD. UNA DE SU SOLICTUD SERA ARCH IVADA EN SUS RECORDS.)

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__ PLACED ON SICK CALL LIST                                        DATE OF APPOINTMENT: _ _ _ _ _ _ _ __

__ PLACED ON DENTAL LIST                                           DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __


MEDICAL STAFF SIGNATURE:
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                             Case 3:12-cv-01027-JPG                               Document 1-1 Filed 09/24/12                           Page 36 of 40            Page ID
                                                                                              #45
                                                                                                                                              (
                                                                                                                                       J'A. .,JlJ'lEASTSIDE, INC
                                                                                                                            TIU COUNTY DETENTJON CEl'·HEIZ
                                                                                                                              l 026 SHAWNEE COLLEGE ROAD
                                                                                                                                                ULLIN, JL 629%
                                                             PfiYSICIAN/ADV ANCED PIU.CTJONER
                                                                                   TREATMENT PLAN




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                               HlSTOltY_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


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                              FOLLOW UP: NURSE VlSIT_
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      Case 3:12-cv-01027-JPG                Document 1-1 Filed 09/24/12                  Page 37 of PALADIN
                                                                                                    40 Page   ID
                                                                                                            EASTSIDE
                                                        #46                                         PSYCHOLOGICAL SERVICES,
                                                                                                              INC.
                                                                                                          TRI-COUNTY
                                                                                                       DETENTION CENTER

 MEDICAL REQUEST

Solicated De Asistencia Media
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DATE:_S-l...--_ci;.::.__-_l
                                                                             DATE RECEIVED: _ _ _ _ _ _ __



FROM:      Go:3 v> Ic.__!A/ M<2-fl~>-\1
REGISTER NO:            00j~~~~ l(                                          STAFF MEMBER: _ _ _ _ _ _ __

HousiNG uNIT: 1tJ             r
(Please Check One)                     Medical Complaint                          Dental Complaint
                                           D                                            I       I
(Fecha De Solicitud)                    Oueja Medica                                 Oueja Dental

~'Q!~fmlt (BRIEFLY STATE YOUR PROBLEM OR CONCERN. YOUR FAILURE TO BE SPECIFIC MAY RESULT IN NO ACTION BEING TAKEN. IF
NECESSARY, YOU WILL BE INTERVIEWED IN ORDER TO SUCESSFULL Y RESPONE TO YOUR REQUEST A COPY OF YOUR REQUEST WILL BE
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     PLACED ON SICK CALL LIST                           DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __

__ PLACED ON DENTAL LIST                                DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __


MEDICAL STAFF       SJGNATURE:~/oao-r"" ( LP.J                                 DATE:     <f. 3- I :;J-
Case 3:12-cv-01027-JPG   Document 1-1 Filed 09/24/12   Page 38 of 40   Page ID
                                     #47
        Case 3:12-cv-01027-JPG               Document 1-1 Filed 09/24/12                              Page   39 of 40 ..,a.AuDIN:;£ASXSIDE
                                                                                                        .---------=-~P~Au_.I Page ID       _ __
                                                         #48                                                   PSYCHOLOGICAL SERVICES.
                                                                                                                          INC. ·
                                                                                                                      TRI-COUNTY
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 MEDICAL REQUEST                                                                                                ·~,




Solicated De Asistencia Media
DATE:_Cf_--~cCIE!.-s~-~.----_\_~--­
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REGISTER NO: 051 q L L 4 ll                                                           STAFF MEMBER: _ _ _ _ _ _ __




(Please Check One)

(Fecha De Solicitud)                     -
                                   Medical Complaint

                                     Oueja Medica
                                                                                           Dental Complaint
                                                                                                  I
                                                                                              Oueja Dental
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               (BRIEFLY STATE YOUR PROBLEM OR CONCERN. YOUR FAILURE TO BE SPECIFIC MAY RESULT IN NO ACTION BEING TAKEN. IF
                 WILL BE INTERVIEWED IN ORDER TO SUCESSFULL Y RESPONE TO YOUR REQUEST A COPY OF YOUR REQUEST WILL BE
FILED IN YOUR RECORDS) I (EXPUQUE BREVEMENTE LA RAZON DE SU SOLJCTUO. UNA DE SU SOLICTUD SERA ARCH IVADA EN SUS RECORDS.)




INMATES SIGNATURE I FIRMA DEL PRESO         d2-.......   -<
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DATE REVIEWED: _ _ _ _ _ _ _ _ _ _ __                                                SEEN IN MEDICAL DEPARTMENT

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_    PLACED ON SICK CALL LIST                                 DATE OF APPOINTMENT: _ _ _ _ _ _ _ __

_PLACED ON DENTAL LIST                                        DATE OF APPOINTMENT: _ _ _ _ _ _ _ __


MEDICAL STAFF       SIGNATUREW~                                           Ll?f4,)        DATE:        'f-S:.-Jcb
    Case 3:12-cv-01027-JPG                 Document 1-1 Filed 09/24/12                      Page 40 of 40                  Page ID
                                                                                                                   PALADIN EASTSIDE
                                                       #49                                                      PSYCHOLOGICAL SERVICES,
                                                                                                                         INC.
                                                                                                                        TRI-COUNTY
                                                                                                                     DETENTION CENTER

 MEDICAL REQUEST

 Solicated De Asistencia                                                             MediaO~y
DATE:_q_-_\_0_--_~_o_~_lV_____

FROM: _]_o----l3-J_-s_l_<:>--_w_·   _{_1_~i_l_o-_V__                                DATE RETURNED: _ _ _ _ _ _ __


REGISTER NO:            v57 'i <t:J...Li I I                                    STAFF MEMBER: _ _ _ _ _ _ __

HOUSING UNIT: I\1\ f
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(Please Check One)

(Fecha De Solicitud)                       -
                                    Medical Complaint

                                      Oueja Medica
                                                                                      Dental Complaint
                                                                                             I
                                                                                         Oueja Dental
                                                                                                          I
~~-- (BRIEFLY STATE YOUR PROBLEM OR CONCERN. YOUR FAILURE TO BE SPECIFIC MAY RESULT IN NO ACTION BEING TAKEN. IF
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INMATES SIGNATURE I FIRMA DEL PRESQ       ~ ....-       !~




_    PLACED ON .SICK CALL LIST                          DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __

     PLACED ON DENTAL LIST                              DATE OF APPOINTMENT: _ _ _ _ _ _ _ _ __


MEDICAL STAFF       SIGNATU~~                                                       DATE:. _ _       q-+- ~-'-f-"'{)"- -/'-·=9-.,_ ,_ _ _
